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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
- MCALLEN DIVISION .

UNITED STATES OF AMERICA,
Plaintiff,

V. .CASE NO. 7:19-CV-409

6.10 ACRES OF LAND, MORE OR LESS,
SITUATE IN HIDALGO COUNTY,

_ STATE OF TEXAS; YOLANDA

. HERNANDEZ, ET AL. - |

Defendants. .

 

 

WAIVER OF SERVICE OF JUDICIAL PROCESS

 

TO: ROLAND D..RAMOS
- Assistant United States Attorney
1701 W. Bus. Highway 83, Suite 600
McAllen, Texas 78501 - :

I acknowledge receipt of your request to waive service of judicial process in this action
along with a copy of the Notice of Condemnation, two copies of this waiver form, and a self-
addressed postage-free envelope that I can use to return one signed copy of the waiver to you, at
no cost to me.

I, or the entity on 1 whose behalf I am acting, agree to avoid the costs associated with formal
_ service of juutiatal pr ocess in the manner provided by Federal Rules of Civil Procedure 4 and TLL
I understand that I, or the entity on whose behalf I am acting, wail retain all ‘tetenes or
| obj ections to the lawsuit, the court’s jurisdiction, ae the venue of the anton, but that I waive any |

obj ections to a defect in the Notice of Condemnation or in the service thereof.

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I cmdlefstand that L or the entity on whose behalf I am acting, pursuant to Federal Rule of

Civil Procedure 71.1, ma file a notice of appearance if there is no objection or defense to the
taking of the condemned lands. In th alternative, if there is an objection st defense to said taking, -
I, or the entity oni whose behalf I am schne, must serve an saat upon plaintiffs attorney at the
faders herein designated within twenty-one (21) days after being ‘served with the Notice of
Condemnation. d further sslonoraledee that the answer must identify the property in which I, or the
entity on whose behalf I am atin claim an interest, state the nature and extent of the —
claimed, and state all objections or dctinaets the taking. . |

| I, or the entity on safiiee behalf I am acting, understand that a failure to serve an answer ~
within ae (21) days shall constitute a consent to the taking and to the authority of the court
to proceed to hear the action and fix just shonbensiitien, atl shall constitute a waiver of all defenses ~
and obj ecticris not so presented. a

- I Farther understand that at the trial of the — of just compensation, whether or not I, or
the entity on whose behalf I am acting, have filed an answer or served a notice of ne I
mang present eglldnwe as to the amount of just compensation.to be paid for the property acquired

herein and I may share in the distribution of the award for compensation.

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DATE OF SIGNATURE

Please indicate your contact information below:

MAILING ADDRESS

 

PHYSICAL ADDRESS (if different from mailing)

PHONE NUMBER

What is the best time to reach you at this phone

number? [pay [Nevening

 

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